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8                                 UNITED STATES DISTRICT COURT
9                                        DISTRICT OF NEVADA
10                                       LAS VEGAS DIVISION

11   LARRY G. PHILPOT,                                     Case No.: 2:20-cv-00824-JAD-EJY

12                         Plaintiff,
13          V.                                                 STIPULATION & PROPOSED
14                                                           ORDER TO EXTEND DEADLINE TO
     CITIZEN OUTREACH FOUNDATION, INC.                            SUBMIT DISCOVERY
15                                                             PLAN/SCHEDULING ORDER
                           Defendant.
16

17           Plaintiff Larry G. Philpot ("Plaintiff') and Defendant Citizen Outreach Foundation, Inc.

18   ("Defendant"), by and through their respective counsel of record, hereby stipulate and agree

19   pursuant to Local Rule 7-1 as follows:

20           1.      Whereas, Plaintiff filed the complaint in this action on May 7, 2020.

21           2.      Whereas, Plaintiff served a copy of the Summons and Complaint on Defendant by
22   Rule 4 Waiver of Service on May 20, 2020.

23           3.      Whereas, Defendant made its first appearance in this matter on June 12, 2020.

24           4.      Whereas, the Discovery Plan/ Scheduling Order is due on July 27, 2020.

25           5.      Whereas, Plaintiff and Defendant have agreed to extend time for to submit the

26   Discovery Plan / Scheduling Order to the court by not more than fourteen (14) days, up to and

27   including August 10, 2020.
28

                                                                Stipulation & Proposed Order to Extend Deadline to
                                                     -1-                   Submit Discovery Plan/Scheduling Order
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                                       /s/ Alex R. Velto




         July 29
